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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS


JOHN DOE,
         Plaintiff

    V.                                                  Civil Action No. 15-10790-DJC

TRUSTEES OF BOSTON COLLEGE,
         Defendant


                          STIPULATION AND [PROPOSED] ORDER

         Plaintiff John Doe and defendant Trustees of Boston College stipulate as follows:

         1.      Defendant takes the position that the charitable organization damages cap, M.G.L.

c. 231, § 85K, applies to anydamages that thejury may award in connection with or arising from

any emotional harm to plaintiffarising from the conductproceedings at issue, in the event

plaintiff is permitted to seek such damages at trial. Plaintiff takes the position that the damages

cap does not apply.

         2.      The parties agreethat, if necessary, the Court should determine the applicability

of the damages cap in a post-trial proceeding after full opportunity for briefing of the issue.

         3.      In order to avoid the need for defendant to establish at trial that defendant is an

organization that may be eligible for the application of the damages cap, plaintiffstipulates that

defendant is a non-profit, charitable organization.

         4.      Apart from this stipulation of fact, plaintiff reserves all his rights and maintains

that the claims to be decided by the jury and any damagesaward are not subject to the M.G.L. c.

231, § 85K damages cap as a matter of law. Defendant reserves all its rights and maintains the

contrary position.
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Trustees of Boston College,             John Doe,

By their attorneys,                     By his attorneys,

                                        DLA PIPER LLP (US)

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/s/ Darvl J. Lapp
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       SO ORDERED this        5^ dayo      ,2019.




                                            Dennis J. Casper
                                            United States District Court Judge
